Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 1 of 8 PageID #: 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION


 TRACIE NICOLE BARBER,

                            Plaintiff,              Civil Action No.:

 VERSUS                                             Judge:

 WOLFGANG PUCK WORLDWIDE,                           Magistrate Judge:
 INC.; WOLFGANG PUCK
 ENTERPRISES, INC.;
 and W.P. APPLIANCES, INC.,

                            Defendants.


                               COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

       The complaint of Tracie Barber, a person of the full age of majority, through undersigned

counsel, alleges the following upon personal knowledge and belief, and investigation of counsel:

                                   NATURE OF THE CASE

1.     This is a product liability action seeking recovery for substantial personal injuries and

damages suffered by Plaintiff Tracie Barber (hereafter referred to as “Plaintiff”), after Plaintiff

was seriously injured by a Wolfgang Puck Elite Heavy Duty 7-quart Electric Pressure Cooker,”

which specifically includes the Model Number BPCRM040 (hereafter generally referred to as

“pressure cooker(s)”).

2.     Defendant Wolfgang Puck Worldwide, Inc. (hereafter referred to as “Defendant

Wolfgang Worldwide”), Defendant Wolfgang Puck Enterprises, Inc. (“Wolfgang Enterprises”)

and Defendant W.P. Appliances, Inc. (hereafter referred to as “Wolfgang Appliances”)

(collectively referred to as “Defendants”), (hereafter referred to as “Defendant Wolfgang Puck”)
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 2 of 8 PageID #: 2




designs, manufactures, markets, imports, distributes and sells a wide-range of consumer products,

including the subject “Elite Heavy Duty 7-Quart” electric pressure cooker at issue in this case.

3.     On or about December 22, 2020, Plaintiff suffered serious and substantial burn injuries as

the direct and proximate result of the pressure cooker’s lid suddenly and unexpectedly exploding

off the pressure cooker’s pot during the normal, directed use of the pressure cooker, allowing its

scalding hot contents to be forcefully ejected from the pressure cooker and onto Plaintiff.

4.     As a direct and proximate result of Defendant’s conduct, the Plaintiff in this case incurred

significant and painful bodily injuries, medical expenses, wage loss, physical pain, mental anguish,

and diminished enjoyment of life.

                                          THE PARTIES

5.     Plaintiff was, at all relevant times, a resident and citizen, and domiciled in the City of Jena,

Parish of LaSalle, State of Louisiana. Plaintiff has resided in the City of Jena, Parish of LaSalle,

State of Louisiana from the time of her injuries through the present and is therefore deemed a

citizen of this state for purposes of diversity jurisdiction under 28 U.S.C. § 1332.

6.     Defendants design, manufacturer, market, import, distribute and sell a variety of consumer

products, including the subject “Elite Heavy Duty 7-quart” electric pressure cookers.

7.     Defendant Wolfgang Worldwide is a Delaware corporation with is principal place of

business at 100 North Crescent Drive, Suite 100, Beverly Hills, California 90210. Accordingly,

Defendant Wolfgang Enterprises is a resident and citizen of the State of California for purposes of

diversity jurisdiction under 28 U.S.C. § 1332.

8.     Defendant Wolfgang Enterprises is a California corporation with its principal place of

business at 11400 West Olympic Boulevard, Suite 330, Los Angeles, CA 90064. Accordingly,

Defendant Wolfgang Enterprises is a resident and citizen of the State of California for purposes of
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 3 of 8 PageID #: 3




diversity jurisdiction under 28 U.S.C. § 1332.

9.      Defendant Wolfgang Appliances is Florida corporation with its principal place of business

at 2475 Hollywood Boulevard, Hollywood, Florida 33020. Accordingly, Defendant Wolfgang

Appliances is a resident and citizen of the State of Florida for purposes of diversity jurisdiction

under 28 U.S.C. § 1332.

                                 JURISDICTION AND VENUE

10.     This Court has subject matter jurisdiction over this case pursuant to diversity jurisdiction

prescribed by 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and there is complete diversity between the parties.

11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because all or a substantial part

of the events or omissions giving rise to this claim occurred in this district.

12.     Venue is also proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants have

sufficient minimum contacts with the State of Louisiana and intentionally availed themselves of

the markets within Louisiana through the promotion, sale, marketing, and distribution of their

products.

                                   FACTUAL BACKGROUND

13.     Defendants are engaged in the business of designing, manufacturing, warranting,

marketing, importing, distributing and selling the pressure cookers at issue in this litigation.

14.     Defendants tout the “safety” of their pressure cookers, and state that they cannot be opened

while in use. 1

15.     For example, according to the Owner’s Manual accompanying the individual unit sold, the



1
  See, e.g. Wolfgang Puck BPCRM040 Owner’s manual, pg. 10. A copy of the Owner’s manual
is attached hereto as “Exhibit A”.
2
  Id.
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 4 of 8 PageID #: 4




pressure cookers’ “safety feature” purportedly keeps the lid of the pressure cooker from opening

once pressurized. Specifically, the manual states that “[a]s a safety feature, the lid will not open

unless all pressure is reduced.”2

16.    By reason of the forgoing acts or omissions, the above-named Plaintiff and/or her family

purchased the pressure cooker with the reasonable expectation that it was properly designed and

manufactured, free from defects of any kind, and that it was safe for its intended, foreseeable use

of cooking.

17.    On or about December 22, 2020, Plaintiff was using the pressure cooker designed,

manufactured, marketed, imported, distributed and sold by Defendants for its intended and

reasonably foreseeable purpose of cooking.

18.    While the pressure cooker was in use for cooking, the pressure cooker’s lid unexpectedly

and suddenly blew off the pot in an explosive manner. The contents of the pressure cooker were

forcefully ejected out of the pot and onto Plaintiff, causing severe, disfiguring burns to, inter alia,

her arms and breasts.

19.    Plaintiff and her family used the pressure cooker for its intended purpose of preparing

meals and did so in a manner that was reasonable and foreseeable by the Defendants.

20.    However, the aforementioned pressure cooker was defectively and negligently designed

and manufactured by Defendants in that it failed to properly function as to prevent the lid from

being removed with normal force while the unit remained pressurized, despite the appearance that

all the pressure had been released, during the ordinary, foreseeable and proper use of cooking food

with the product; placing the Plaintiff, her family, and similar consumers in danger while using

the pressure cookers.
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 5 of 8 PageID #: 5




21.     Defendants’ pressure cookers possess defects that make them unreasonably dangerous for

their intended use by consumers because the lid can be rotated and opened while the unit remains

pressurized.

22.     Further, Defendants’ representations about “safety” are not just misleading, they are flatly

wrong, and put innocent consumers like Plaintiff directly in harm’s way.

23.     Economic, safer alternative designs were available that could have prevented the pressure

cooker’s lid from being rotated and opened while pressurized.

24.     As a direct and proximate result of Defendants’ intentional concealment of such defects,

its failure to warn consumers of such defects, its negligent misrepresentations, its failure to remove

a product with such defects from the stream of commerce, and its negligent design of such

products, Plaintiff used an unreasonably dangerous pressure cooker, which resulted in significant

and painful bodily injuries.

25.     Consequently, the Plaintiff in this case seeks compensatory damages resulting from the use

of Defendants’ pressure cooker as described above, which has caused the Plaintiff to suffer from

serious bodily injuries, medical expenses, lost wages, physical pain, mental anguish, diminished

enjoyment of life, and other damages.

                               CAUSES OF ACTION
               PURSUANT TO THE LOUISIANA PRODUCTS LIABILITY ACT
                            (LSA-R.S. 9:2800.52, ET SEQ.)

26.     Plaintiff incorporates by reference each preceding and succeeding paragraph as though set

forth fully at length herein.

27.     At the time of Plaintiff’s injuries, Defendants’ pressure cookers were defective and

unreasonably dangerous for use by foreseeable consumers, including Plaintiff.
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 6 of 8 PageID #: 6




28.    Defendants’ actions and omissions were the direct and proximate cause of the Plaintiff’s

injuries and damages.

29.    Defendants, under all applicable laws including, but not limited to, the Louisiana Products

Liability Act, LSA-R.S. 9:2800.52 et seq., are liable unto Plaintiff for her injuries and damages for

designing, manufacturing, assembling, marketing, distributing, and/or selling the aforesaid

pressure cooker that was unreasonably dangerous in construction or composition, in design,

because inadequate warnings about the product had not been provided, and/or because the pressure

cooker did not conform to the implied and express warranties of the manufacturer about this

product.

       WHEREFORE, Plaintiff demands judgment against Defendants for damages, together

with interest, costs of suit and all such other relief as the Court deems proper.

                                    INJURIES & DAMAGES

30.    As a direct and proximate result of Defendants’ negligence and wrongful misconduct as

described herein, Plaintiff has suffered and will continue to suffer physical and emotional injuries

and damages, including past, present, and future physical and emotional pain and suffering, as a

result of the burn injuries she suffered from the incident.

31.    As a direct and proximate result of Defendants’ negligence and wrongful misconduct,

Plaintiff has incurred and will continue to incur the loss of full enjoyment of life and physical

disfigurement as a result of the burn injuries she suffered from the incident.

32.    As a direct and proximate cause of Defendants’ negligence and wrongful misconduct,

Plaintiff has and will continue to incur expenses for medical care and treatment, as well as other

expenses, as a result of the burn injuries she suffered from the incident.
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 7 of 8 PageID #: 7




33.    Plaintiff’s damages exceed $75,000.00 as required by 28 U.S.C. § 1332(a), and Plaintiff is

entitled to recover the foregoing damages from Defendant in an amount to be proven at trial.

                                   JURY TRIAL DEMANDED

34.    Plaintiff is entitled to and demands a trial by jury.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against The Defendants for damages, to

which she is entitled by law, as well as all costs of this action, interest and attorneys’ fees, to the

full extent of the law, whether arising under the common law and/or statutory law, including:

           a. judgment for Plaintiff and against Defendants;

           b. damages to compensate Plaintiff for her injuries, economic losses and pain and
              suffering sustained as a result of the use of the Defendants’ pressure cookers;

           c. pre and post judgment interest at the lawful rate;

           d. a trial by jury on all issues of the case; and

           e. for any other relief as this Court may deem equitable and just, or that may be
              available under the law of another forum to the extent the law of another forum is
              applied, including but not limited to all reliefs prayed for in this Complaint and in
              the foregoing Prayer for Relief.
Case 1:21-cv-03928-DCJ-JPM Document 1 Filed 11/10/21 Page 8 of 8 PageID #: 8




                                   Respectfully submitted,

                                   THE GERTLER LAW FIRM

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